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              UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH
                     APPLICATION FOR PRO HAC VICE ADMISSION

                                  CONTACT INFORMATION

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 Pro Hac Vice Applicant:          Andrew Brantingham
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 An applicant who intend to become a                       ☐ Admission by Bar Examination
 member of the Utah State Bar, please                      ☐ Admission by UBE Transfer
 identify the type of admission you seek:                  ☐ Motion/Reciprocal

                          STATE AND FEDERAL BAR MEMBERSHIPS

                   Jurisdiction                       Bar Number             Date of Admission
 Minnesota                                        0389952                   October 30, 2009
 District of Columbia                                                       June 7, 2021
 Eighth Circuit                                                             March 25, 2010
 District of Minnesota                                                      April 18, 2011
 Ninth Circuit                                                              October 17, 2022


 Have you ever been the subject of disciplinary action         ☐ Yes           ☒ No
 by any bar or court to which you have been admitted?

If yes, please explain:



                                                  1
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               LIST PRO HAC VICE ADMISSIONS TO THE DISTRICT OF UTAH
                              IN THE PREVIOUS 5 YEARS

                   Case Name                               Case Number           Date of Admission




If you have been admitted pro hac vice in 3 unrelated cases in this district in the previous 5
years, please explain your reason(s) for not seeking admission to the Utah State Bar:




 I certify that I am a member in good standing                  ☒ Yes             ☐ No
 of all bars and courts to which I have been admitted.
 I certify that I have read and will comply with                ☒ Yes             ☐ No
 the Utah Rules of Professional Conduct and
 the Utah Standards of Professionalism and
 Civility.
 I certify that I am not a member of the Utah State             ☒ Yes             ☐ No
 Bar.
 I certify that I have listed all cases in which I have         ☒ Yes             ☐ No
 been admitted pro hac vice this district in the
 previous 5 years.
 I certify that I do not maintain a law office in Utah.         ☒ Yes             ☐ No

 I certify that the foregoing is true and correct               ☒ Yes             ☐ No
 and is subject to the penalty of perjury.

Under DUCivR 83-1.1(d)(2) you must register to efile to receive electronic notification of case
activity. Please visit the court’s Attorney Admissions webpage for instructions.


/s/ Andrew Brantingham                                          April 17, 2024
Signature                                                       Date




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